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                               EXHIBIT 1
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                                                 DE LA ESPRIELLA
                                                Lawyers │ Enterprise©
                                                 Specialized Legal and Consulting Services

                                                 PUBLIC STATEMENT

   As legal representatives of Mr. ALEX SAAB MORÁN, we would like to inform you of the following:

   1.The law firm DE LA ESPRIELLA Lawyers Enterprise Specialized Legal and Consulting Services provides
   services to individuals and legal entities, without making any distinction among them based on ideology
   whatsoever. The assessment of cases prior to acceptance is based on merely technical criteria and
   therefore subjective reasonings regarding politics play no part in same.

   2. Our Executive Managing Partner’s ideological positions, which are widely known nationally and
   internationally, do not set the course for the manner in which the attorneys who make up the DE LA
   ESPRIELLA Lawyers Enterprise Specialized Legal and Consulting Services team practice their profession.

   3.Mr. ALEX SAAB MORÁN has been a client of the firm for the last six years. We are currently providing
   support to Mr. SAAB in an ongoing investigation against him in Colombia due to some alleged fictitious
   exportations of textiles. We will continue to represent him in that case.

   4.The practice of law is a profession practiced liberally, in which there exists a clear delimitation between
   the roles of client and attorney. Attorneys defend cases in courts of law. not political ideologies.

   5. The Office of Foreign Assets Control of the United States Treasury Department (OFAC) has issued a
   sanction against Mr. SAAB MORÁN due to events that are unrelated to the investigation taking place in
   our country.

   6. Acting in our capacity as attorneys for Mr. ALEX SAAB MORÁN in Colombia, we demand that the
   universal rights of presumption of innocence and due process, rights afforded to him and to all, be
   respected.

   We highly appreciate your assistance in circulating this information.

   Cordially,
   [Illegible signature]
   DANIEL PEÑARREDONDA
   ASSISTANT MANAGING PARTNER

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